Case 1-11-47385-ess

Doc 78-4 Filed 12/30/11

Entered 12/30/11 12:58:45

 

 

 

 

12/29/2011 Goetz Fitzpatrick, LLP
1:54 PM ’ Pre-bill Worksheet Page 1
Selection Criteria
Clie.Selection include: OTR Media Group, Inc.
Slip. Transaction Dat 8/29/2011 - 11/30/2011
Nickname OTR Media Group, inc. | 13
Full Name OTR Media Group, Inc.
Address 120 Wail Street, 32nd Floor
New York, NY 10005
USA
Phone Fax
Home Other
In Ref To
Fees Arrg. By billing value on each slip
Expense Arrg. By billing value on each stip
Tax Profile Exempt
Last bill
Last charge 11/30/2011 :
Last payment Amount $0.00
Date Timekeeper Rate Hours Amount Total
ID Task Markup % DNB Time ONB Amt
8/29/2011 GMK 425.00 -0.50 212.50 Billable
492 Cash Collateral
Multiple telephone calls w/representatives of Metroplitan Bank
8/29/2011 GMK 425,00 0.20 85.00 Billable
493 Case Administration
Telephone conference w/Bankruptcy Court re: status update
8/30/2011 RDC 465.00 0.40 186.00 Billabie
494 Cash Collateral
Communications with A, Noe, A. Holzer regarding City's letter to 30 Broad
and correspondence from Morrison Cohen. Discussed "landlords letter"
and status of authoirzation for use of cash collateral with G. Kushner,
8/30/2011 RDC 465.00 1.16 511.50 Billabie
495 Claims Objection
Prepared correspondence to Morrison Cohen regarding demand under
five-day provision of settlement agreement. Discussed the same with G.
Kushner
8/30/2011 RDC 465.00 6.56 3,022.50 Billable

496 Litigation & Motion Practice
Prepared draft adversary proceeding complaint against the City of New
York in connecton with violation of the automatic stay in connection with
execution actions against indemnitee landlords
Case 1-11-47385-ess Doc 78-4 Filed 12/30/11 Entered 12/30/11 12:58:45

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42/29/2011 Goetz Fitzpatrick, LLP
1:54 PM Pre-bill Worksheet Page 2
OTR Media Group, Inc.:OTR Media Group, Inc. (continued)
Date Timekeeper Rate Hours Amount Total
ID. Task ' Markup % DNB Time DNB Amt
8/30/2011 GMK 425.00 0.30 127.50 Bitlable
497 Claims Objection
Telephone conference w/Raymond Cohen (landlord attorney) re: status
update in bankruptcy filing
8/30/2011 GMK 425.00 0.30 127.50 Bitlable
498 Cash Collateral .
Telephone conference w/Wayne Davis re: use of cash collateral
8/30/2011 GMK 425.00 0.10 42.50 Billable
499 Case Administration , os
Telephone conference w/Sheree Jackson re; scheduling
8/30/2011 GMK 425.00 0.40 170.00 Billable
500 Conference .
Conference w/Ron Coleman re: strategy development
8/30/2011 GMik 425.00 _ 0.50 212,50 Billable
501 Cash Collateral
* Additional telephone conferences w/W. Davis re: cash collateral issues
8/30/2011 GMK 425.00 0.50 212.50 Billable
502 Cash Collateral 7
Receipt and review proposed cash collateral order
8/30/2011 GMK 425.00 0.20 85.00 Billable
§03 Litigation & Motion Practice :
Telephone conference w/UST re: cash collateral and wage motion issues
8/30/2011 GMiK 425.00 0.30 127.50 Billable
504 Case Administration
Telephone conference (2 times) w/Michae! Eisenberg re: various
administrative matters
8/31/2011 SS 275,00 0.70 192.50 Billable
505 Research
Resarch authority re: dissolved corporation's ability to file chapter 11
notwithstanding cissoiution
8/31/2011 RDG 465.00 6.00 2,790.00 Billable
506 Litigation & Motion Practice ,
Prepared memorandum of jaw in support of motion for temporary
restraining order and injunctive relief against City and related research.
8/31/2011 HH 125.00 2.00 250.00 - Billable

507 Litigation & Motion Practice
Reviewed draft papers prepared by R. Coleman and compared to earlier
filings, including Section 1983 action, to control for factual and procedural
consistency. Prepared memorandum to R. Coleman in connection with
Case 1-11-47385-ess Doc 78-4 Filed 12/30/11 Entered 12/30/11 12:58:45

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8/31/2011 GMK 425,00 0.50
518 Research .
Review case research on ability to file chapter 11/dissolved corporation

12/29/2011 Goetz Fitzpatrick, LLP
1:54 PM Pre-bill Worksheet Page 3
OTR Media Group, inc.:OTR Media Group, Inc. (continued)
Date Timekeeper Rate Hours Amount Total
iD Task : Markup % DNB Time ONB Amt
this review
8/31/2011 GMK 425.00 0.56 212,50 Billabie
508 Court Hearings
Prepare for Court conference on ist day motions
8/31/2011 GMK 425.00 0.90 382.50 Billable
509 Cash Collateral
Telephone conference w/Court and interested parties re: emergency use of
cash collateral and interim wage motion.
“ 8/31/2011 GMK 425.00 0.20 85.00 Billable
Le 510 Case Administration
, Conference w/Ron Colaman re: status update
8/31/2011 GMK 425.00 0.30 127.50 Billable
511 Case Administration
Multiple telephone conferences w/M., Eisenberg re: status and responses
to misc, administrative questions
8/31/2011 GMK 425.00 2.00 850.00 Billable
512 Litigation & Motion Practice
Review, prepare edits to proposed complaint against NYC
8/31/2011 GMK 425.00 1.00 425.00 Billable
513 Cash Collateral
Prepare draft/redraft of final cash collateral and wage orders
8/31/2011 GMK 425,00 0.20 85.00 Billabla
514 Cash Collateral
Exchange emails w/W. Davis re: modification to proposed orders
8/31/2011 GMK 425.00 1,00 425.00 Billable
515 Litigation & Motion Practice
Prepared draft of OSC for TRO and related relief
8/31/2011 GMK 425.00 2.00 850.00 Billable
516 Litigation & Motion Practice
Second review, edits to draft complaint/memorandum of law re: city of New
YorkAinjunction
8/31/2011 GMK 425.00 0.50 212.50 Billable
517 Claims Objection
Telephone conference w/Morvelio's office re: tax issues
212.50 Billable
Case 1-11-47385-ess Doc 78-4 Filed 12/30/11 Entered 12/30/11 12:58:45

 

696 Litigation & Motion Practice
Finalize filing and service of order to show cause

12/29/2011 Goetz Fitzpatrick, LLP
1:54 PM Pre-bill Worksheet Page 4
OTR Media Group, inc.:OTR Media Group, inc. (continued)
Date Timekeeper Rate Hours Amount Total
Task Markup % DNB Time DNB Amt
8/31/2011 GMK 425.00 0.50 212.50 Billable
519 Business Operation
Multiple telephone calls w/landiords counsel re: status of injunction/City
8/31/2011 GMK _ 425.00 0.50 212.50 Billable
520 Claims Objection
Telephone conference w/so! Cohen re: fandiord issues
8/31/2011 GMK 425.00 0.50 212.50 Billable
521 Claims Objection
Telephone conference w/Morison Cohen re: landiard issues
8/31/2011 ADC 465.00 0.86 372.00 Bilable ~.
839 Litigation & Motion Practice L
Discussed related procedural and legai issues with G. Kushner ra /
adversary proceeding
8/31/2011 RDC 465.00 2,06 930.00 Bilable
840 Litigation & Motion Practice
Revised draft verfieid complaint for adversary proceeding, revised brief per
G. Kushner comments
9/1/2011 RDC 465.00 2.50 1,162.50 Billabie
§22 Litigation & Motion Practice
Coordinated and finalized submissions on TRO,
9/1/2011 GMK 425.00 2.00 850.00 Billable
523 Litigation & Motion Practice
Finalize OSC, brief and complaint
9/1/2011 GMK 425.00 0.50 212.50 Billable
524 Case Administration
Multiple telephone calls w/Court and NYC re: scheduling issues
9/1/2011 GMK 428.00 0.10 42.80 Billabie-,
694 Asset Disposition V
Exchange emails w/E. Bimbaum
9/1/2011 GMK 425.06 0.50 212.50 Billable ,
695 File Maintenance V4
File maintenance re: adversary proceeding
9/1/2011 GMK 425.00 0.50 212.50 Billable
Case 1-11-47385-ess Doc 78-4 Filed 12/30/11 Entered 12/30/11 12:58:45

 

os 1 GMK 425.00 1.50

532 Business Operation
Work on drafting fetter to OTR landlords

42/29/2011 Goetz Fitzpatrick, LLP
1:54 PM Pre-bill Worksheet Page 5
OTR Media Group, Inc.:OTR Media Group, Inc. (continued)
Date Timekeeper , Rate Hours Amount Total
ID Task Markup % DNB Time DNB Amt
9/1/2011 RDC 465.00 0.10 46.50 Billable
V/ 841 Case Administration
Telephone conference wiM, Eisenberg regarding developments
9/2/2011 RDC 465.00 3.60 1,674.00 Billable
525 Court Hearings
Participated in conference call with the court regarding TRO application to
extend automatic stay to indemnitees.
9/2/2011 GMK 425.00 0.30 127.50 Billable
526 Court Hearings
Prepare for hearing on OTR motion for TRO
9/2/2011 GMK 425.06 2.00 850.00 Billable
527 Court Hearings
Participate in hearing via teleconference re: TRO application
9/2/2011 GMK 425.00 1.00 425.06 Billable
528 Litigation & Motion Practice
-Review, adit proposed stipulation re: TRO against City
« 2/2011 GMK 425.00 1.00 425.00 Billable
|. 529 Litigation & Motion Practice
Multiple telephone calls w/Horan and Kleinman re: TRO stipufation
revisions with NYC
9/2/2011 GMK 425.00 0.20 85.00 Billable
530 Claims Objection ,
Multiple islephone calls w/Raymond Cohn re landlord issues
\/ 9/2/2011 GMK 425.00 0.26 85.00 Billable
697 Case Administration
Attend to case administration re: adversary proceeding
g/2/2011 RDC 465.00 1.50 697.50 Billable
842 Litigation & Motion Practice
Prepared draft stipulation resolving TRO application
ao 96/2011 RDC 465.00 2.00 930.00 Billable
\ 531 Business Operation
Met with G. Kushner regarding tactics and tasks in Chapter 11 and
Ye adversary proceeding cases.
637.50 Billabie
Case 1-11-47385-ess Doc78-4 Filed 12/30/11 Entered 12/30/11 12:58:45

 

844 Litigation & Motion Practice
Discussed City's letter with G. Kushner, H. Haipert

12/29/2011 Goetz Fitzpatrick, LLP
1:54 PM Pre-bill Worksheet Page 6
OTR Media Group, Inc.:OTR Media Group, Inc. (continued)
Date Timekeeper Rate Hours Amount Total
Task , Markup % DNB Time DNB Amt
9/6/2011 GMK 425.00 0.50 212.50 Billable
533 Cash Collateral oe
Talephone conference w/Bank's counsel re: cash collateral issues
9/6/2011 RDC 465.00 1.20 558.00 Billable V/
843 Business Operation
Prepared letter to landlords and revised same per comments of team.
9/6/2011 GMK 425.00 2.00 - 850.00 Billable=-—
847 Business Operation LL
' Strategy meeting w/R. Coleman re: strategy wi/landiord issues,
preservation of relationships
9/6/2011 GMK 425.00 1.50 637.50 Billable
848 Litigation & Motion Practice
Telsphone conference w/A. Noe, E. Bimbaum, R. Coleman re: strategy
development on landiord issues, indemnification and automatic stay
enforcement ,
9/7/2011 HH 125.00 0.60 75.00 Billable
534 DP
Reviewed corresponderice and met with R. Coleman regarding.
indemnitee/landiord lease and documentation issues
9/7/2011 RDC 465.00 0.30 139,50 Billable
535 Litigation & Motion Practice
_ Reviewed City's incoming correspondence relating to indemnified parties.
9/7/2011 GMK - 425.00 0.20 85.00 Billable
536 Professional Retention
Telephone conference w/J. Bartfield re: retention on state court litigation
9/7/2011 GMK 425,00 0.20 85.00 Billable \
537 Case Administration
Conference w/Ron Coleman re status update
9/7/2071 GMK 425.00 - 9.10 42.60 Billable
538 Litigation & Motion Practice
Exchange emails w/Alan Kieinman re adversary proceeding issues
9/7/2017 GMK 425.00 1.00 425.00 Billable
539 Asset Disposition
Telephone conference w/Ed Birnbaum, Ari Noe and Morello re: case
strategy on saie of assets, payments of taxes
9/7/2011 RDC . 465.00 0.20 93.00

Pilaniey?
Case 1-11-47385-ess Doc 78-4 Filed 12/30/11 Entered 12/30/11 12:58:45

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547 Litigation & Motion Practice
Revised and finalized draft correspondence to City. Reviewed H Halnert
comments

12/29/2011 Goetz Fitzpatrick, LLP
1:54 PM Pre-bill Worksheet Page 7
OTR Media Group, inc.:OTR Media Group, Inc. (continued)
Date Timekeeper Rate Hours Amount Total
Task Markup % ONB Time DNB Amt
9/7/2011 RDC 465.00 1.50 697.50 Billable
845 Litigation & Motion Practice
Telephones conferences with A Noe, E. Birnbaum, G. Kushner regarding
the same. :
9/7/2011 RDG 465.00 2.50 1,162.50 Billable
846 Litigation & Motion Practice
Did legal research and prepared draft response to City’s position on
indemnification issues
9/8/2011 HH 125.00 1.40 175.00 Bilabia
540 Litigation & Motion Practice
Proofread various correspondence drafts, assisted R. Coleman with
finalization of documents re indemnification/automatic stay issues
9/8/2011 GMK 425.00 0.30 127.56 Billable
541 Case Administration
Multiple telephone calls w/M. Eisenberg re: status of schedules
9/8/2011 GMK 425.00 0.30 _ 427.50 Billable
542 Business Operation
Multiple telephone calls w/Ari Noe re: Tuck-it-Away issues
9/8/2011 GMK . 425.00 0.40 170,00 Billable
543 Asset Disposition
Muitiple telephone calls w/Ed Birnbaum and others re: tax issues, sale of
assets
9/8/2011 GMIK 425.00 2.00 850.00 Billable
. 644 Plan & Disclosure
Conference w/R. Coleman, A. Noe and A. Holzer re: case strategy
9/8/2011 GMK . 425.00 2.00 850.00 Billable
545 Cash Collateral
Review draft of cash collateral stipulation
9/8/2011 GMK 425.00 0.20 85.00 Billable
546 Business Operation
Exchange e-mails w/a. Noe re: Tuck-lt-Away issue
9/8/2011 RDC 465.06 1.40 651.00 Billable
‘Case 1-11-47385-ess Doc 78-4 Filed 12/30/11 Entered 12/30/11 12:58:45

 

556 Court Hearings
Prepared for hearing in preliminary injunction application, discussions with
A. Holzer and cther team attorneys regarding the same.

12/29/2011 Goetz Fitzpatrick, LLP
1:54 PM Pre-bill Worksheet Page 8
OTR Media Group, inc.:OTR Media Group, inc. (continued)
Date Timekeeper Rate Hours Amount Total
Task Markup % DNB Time DNB Amt
9/8/2011 RDC 465.00 1.00 465.00 Billable
849 Litigation & Motion Practice
Conferences with G. Kushner, A. Holzer, A. Noe regarding adversary
proceeding
9/9/2011 GMK 425.00 0.50 212.50 Billable:
548 Business Operation
Draft, edit and finalize letter to Tuck-lt-Away re: 362 warning
— 9/9/2011 GMK 425.00 1.50 637.50 Billable
549 Cash Collateral
Review, prepare modifications to cash collateral stipulation
9/9/2011 GMK 425.00 0.50 212,50 Billable
550 Cash Collateral
Multiple telephone calls wilenders counsel re: cash collateral stipulation
9/9/2011 GMK 425.00 0.50 212.50 Billable
551 Litigation & Motion Practice
Receipt and review opposition papers from City of New York
9/9/2011 GMK 425.00 _ 0.50 212.50 Billable
552 Litigation & Motion Practice
Multiple telephone calls w/Ron Coisman-re: reply to City's papers
9/9/2011 GMK 425.00 1.50 637.50 Billable
553 Litigation & Motion Practice
Draft, edit and finalize reply papers re City’s motion
9/9/2011 GMK 425.00 0,20 85.00 Billable
554 Cash Collateral
Telephone confrence w/Sheiia Olaksen of IRS re: cash collateral issues
9/9/2011 RDG 465.00 0.40 186.00 Billable
555 Case Administration
Reviewed correspondence among team regarding Tuck-it-Away and cash
collateral issues
9/9/2011 GMK 425.00 0.50 212,50 Billable
698 Business Operation
Participate in numerous email exchange, telephone calls re:Tuck it Away
9/11/2011 RDC 465.00 0.80 372,00 Billable
Case 1-11-47385-ess Doc 78-4 Filed 12/30/11 Entered 12/30/11 12:58:45

12/29/2011 Goetz Fitzpatrick, LLP
1:54 PM Pre-bill Worksheet Page 9

OTR Media Group, Inc.:OTR Media Group, Inc. (continued)

 

Date Timekeeper Rate Hours Amount Total
iD Task Markup % DNB Time DNB Amt
_ , 9/11/2011 GMK 425.00 0.30 127.50 Biltable

699 Business Operation
Continue exchange of emails ra: Tuck it Away resolution

9/11/2011 GMK 425.00 1.00 425.00 Billable
700 Court Haarings

Prepare for oral argument re: order to show cause in adversary proceeding
vs. NYC ,

9/11/2011 GMK 425.00 1.00 425.00 Billable
850 Litigation & Motion Practica

Conference w/A. Noe and R. Coleman re status update to client about

itigation matters with City in adversary proceeding/indemnification and
automatic stay

9/12/2011 RDC 465.00 4.40 2,046.00 Bilable
i\ 557 Court Hearings

Prepared for, attended and participated in hearing for preliminary injunction
in adversary proceeding.

9/12/2011 GMK 425.00 0.50 212.50 ‘Billable
558 Court Hearings a

Prepare for Court hearing on order to show cause

9/12/2011 GMK 425.00 0.50 212.50 Bilable
559 Cash Collateral

Review, approve draft cash collateral stipulation

\/ 9/12/2011 GMK 425.00 0.50 212.50 Billable
560 File Maintenance
File maintenance

9/12/2011 GMK 425.00 — 0.30 127.50 Billable
561 Case Administration

Letter to M. Eisenberg re: initial Debtor interview

9/12/2011 GMK 425.00 | 4.50 1,912.50 Billable
562 Court Hearings
Attendance at Court hearing on interim use of cash collateral, TRO hearing

9/12/2011 GMK 425.00 0.40 170.00 Billable
563 Professional Retention
Telephone conference w/Caroline Harris ra: retention as special counsel

9/12/2011 GMK , 425.00 0.20 85.00 Billable
564 Cash Collateral
Exchange e-mails w/W. Davis re: cash collateral issues
Case 1-11-47385-ess Doc 78-4 Filed 12/30/11 Entered 12/30/11 12:58:45

42/29/2011 Goetz Fitzpatrick, LLP

 

704 Claims Objection
Multiple telephone calls and emails w/client, regulatory counsel re:
summary of City violations

1:54 PM Fre-bill Worksheet Page 10
OTR Media Group, Inc.:OTR Media Group, Inc. (continued)
Date Timekeeper Rate Hours Amount Total
Task Markup % ONB Time DNB Ami
9/12/2011 GMK 425.00 0.30 127.50 Billable
565 Cash Collateral
Telephone conference w/M. Eisenberg (3 times) re: cash collateral budget,
schedules
9/13/2011 RBC 465.00 1.00 465.00 Billable
566 Litigation & Motion Practice
Reviewed and responded to correspondence from B. Horan regarding
“property listing."
9/13/2011 GMK 425.00 0,10 42.50 Billable
567 Professional Retention
Telephone conference w/J. Bartfield re retention issues
O/19/2011 GMK 425.00 0.30 127.50 Billable
568 Litigation & Motion Practice
Telephone conference w/J. Bartfield re status of various ECB and state
court proceedings w/Clity of New York
9/13/2011 GMK 425.00 0.50 212,50 Billable
569 Case Administration ,
Review, edit draft of schedules
9/13/2011 GMK 425.00 0.10 42,50 Bitable
570 Business Operation
Telephone conference w/isaac C. Kurtz re landlord issue
9/13/2011 GMK 425.00 0.20 85.00 ‘Billable
701 Professional Retention
Telephone conference w/M. Eisenberg re re: retention of ardinary course
professional issues
9/13/2011 GMK . 425.00 0.20 85.00 Billable
702 Professional Retention
Telephone conterence w/c. Harris re: retention issues
9/13/2011 GMK 425.00 0.20 85.00 Billable
703 Professional Retention
Telephone conference w/Howard Crystal re: retention issues
9/13/2011 GMK 425.00 0.50 2742.50 Billable
Case 1-11-47385-ess Doc 78-4 Filed 12/30/11 Entered 12/30/11 12:58:45

42/29/2011 Goetz Fitzpatrick, LLP
1:54 PM Pra-bill Worksheet Page 114

OTR Media Group, Inc.:OTR Media Group, Inc. (continued)

 

Date Timekeeper Rate Hours Amount Total
ID Task Markup % ONB Time DNB Amt
9/13/2011 GMK 425.00 0.30 127.50 Billable

705 Case Administration
Multiple telephone conferences w/M. Eisenberg re: modifications to
chapter 11 scheduies

, 9/13/2011 GMK 425.00 0.50 . 212.50 Billable
LL 706 Cash Collateral’

Mutiple telephone conferences w/W. Davis re: cash collateral issues

9/13/2011 GMK 425.00 0.20 85.00 Billable
719 Professional Retention
Telephone conference w/C. Harris re: retention issues

9/13/2011 GMK 425.06 0.20 85.00 Billable
720 Litigation & Motion Practice

Multiple telephone conferences w/OTR's regulatory counsel re: status on
ECB hearings going forward

9/43/2011 RDC , 465.00 0.20 93.00 Billable
851 Litigation & Motion Practice

Correspondence with client attorneys and staff regarding preparation fo
supplemental submissions

9/14/2011 RDC 465.00 4.00 465.00 Billable
584 Case Administration

Met with G. Kushner regarding finalization of schedules, tactics for dealing
with fandiords and client concerns regarding LLC issue.

9/14/2011 GMK 425.00 2.00 850.00 Billable
585 Case Administration
Telephone conference w/M. Eisenberg to discuss/edit draft schedules

9/14/2011 RBC 465.00 0.40 186.00 Billable
852 Business Operation
Telephone conference w/A. Noe regarding status of submissions and
medium-run strategy

. 9/15/2011 SS 275.00 4,00 4,100.00 Billable
\ 586 Professional Retention

Draft motion for authorization to employ professionals in the ordinary
course of business; telephone conference w/client re: ordinary course
professionals background facts

587 Fila Maintenance

\/ 9/15/2011 GMK 425.00 0.50 212.50 Billable
Fila maintenance
Case 1-11-47385-ess Doc 78-4 Filed 12/30/11 Entered 12/30/11 12:58:45

 

12/29/2011 Goetz Fitzpatrick, LLP
1:54 PM Pre-bill Worksheet Page t2
OTR Media Group, inc.:OTR Media Group, inc. (continued)
Date Timekeeper Rate Hours Amount Total
ID Task Markup % DNB Time BNB Amt
9/15/2011 GMK 425.00 0.20 85.00 Billable -
588 Professional Retention
Conferance w/s. Simon re: assignment of retention application
9/15/2011 GMK 425.00 0.70 297.50 Billable'
589 Case Administration \/
Meeting w/Ari Noe re: case administration
9/15/2011 GMK 425.00 0.50 212.50 Billable VY
590 Litigation & Motion Practice |
Multiple e-mail exchanges w/Ari Noe re: automatic stay issues
9/15/2011 GMK . 425.00 0.10 42.50 Billable
591 Professional Retention
Receipt and review 4-rnail from Bartfieid re retention issue
9/15/2011 GMK 425.00 0.30 127.50 Billable
592 Cash Collateral
Prepare, edit and finalize budget per telephone conference wiM. Eisenberg
9/15/2011 GMK 425.00 0.30 127.50 Billable
707 Cash Collateral
Muitiple telephone conferences w/W. Davis re: cash collateral budget
9/15/2011 GMK : 425.00 0.20 85.00 Billabie
709 Professional Retention
Telephone conference w/C. Harris re: retention issues
9/15/2011 GMK 425.00 0.20 85.00 Bilable
710 Litigation & Motion Practice
Multiple telephone conferences w/OTR's regulatory counsel re: status on
ECB hearings going forward
9/16/2011 SS 275.00 1.20 330.00 Billable .
593 Professional Retention \_
Telephone conferences with various professionals, to obtain detail needed
to finalize application to retain professionals in the ordinary course of
business
9/16/2011 GMK 425.00 2.50 1,062.50 Billable
594 Claims Objection
Attendance at meeting w/Ari Nos and accountant, Morvello faw firm re:
NYC tax delinquencies
9/16/2011 GMK 425,00 1.50 637.50 Billable

595 Case Administration
Continue preparation and edits to schedules, telephone conference
multipie times w/Michael Eisenberg to review
Case 1-11-47385-ess Doc 78-4 Filed 12/30/11 Entered 12/30/11 12:58:45

 

12/29/2011 Goetz Fitzpatrick, LLP
1:54 PM Pre-bill Worksheet Page 13
OTR Media Group, Inc.:OTR Media Group, Inc. {continued}
Date Timekeeper Rata Hours Amount Total .
ID Task Markup % DNB Time DNB Amt
O/16/2011 GMK 425.00 0.20 85.00 Billabie
596 Case Administration
Telephone conference w/R. Coleman re: status update
9/16/2011 GMK 425.00 0.20 85.00 Billabla
597 Professional Retention
Telephone conference w/H. Crystal re: retention issues
9/16/2011 GMK 425.00 0.20 85.00 Billable
598 Cash Collateral
Telephone conference w/S. Olaksen re: IRS adquate protection stipulation
9/16/2011 GMK 425.00 0.20 85.00 Billable
711 Case Administration
Telephone conference w/M. Elsenberg re: DIP account
9/16/2011 GMK 425.00 0.40 170.00 Billable
712 Cash Collateral.
Multiple emails w/W. Davis re: cash collateral budget
9/16/2011 GMK 425.00 0.20 85.00 Billabla
721 Case Administration :
' Telaphone conference w/M. Eisenberg re; DIP account
9/19/2011 SS 275.00 3.00 825.00 Billable
. 599 Professional Retention
Further teleshone conferences with OTR's outside professionals, to
determine detail for drafting motian; draft Exhibit B to motion to retain
professionals in.the ordinary course of business, to include detail provided
by such professionals ra: services performed, hourly rate and arnount owed
as of Petition Date
9/19/2011 GMK 425.00 - 0.20 85.00 Billable
713 Claims Objection
Review tax claim schedules
9/19/2011 GMK 425.00 0.20 85.00 Billable
714 Claims Objection
Multiple telephone calls w/N. Mann re: tax claims by NY State
9/19/2011 GMK . 425.00 2,50 1,062.50 Billable
715 Court Hearings
Attendance at initlal debtor interview
9/20/2011 GMK 425.00 0.10 42.50 Billable

.

600 Case Administration
Conference w/R, Greene re: scheduling issues
Case 1-11-47385-ess Doc 78-4 Filed 12/30/11 Entered 12/30/11 12:58:45

 

610 Court Hearings
' Multiple conferences w/Ron Coleman re: case strategy

12/29/2011 Goetz Fitzpatrick, LLP
1:54 PM Pre-bill Worksheet Page 14
OTR Media Group, Inc.:OTR Media Group, inc. (continued)
Date Timekeeper Rate Hours Amount Tota!
Task Markup % DNB Time DNB Amt
9/20/2011 GMK 425.00 0.20 85.00 Bitable
601 Case Administration
Telaphone conference w/M. Eisenberg re follow up on IDI issues
9/20/2011 RG 150.00 0.16 15.00 Billable
853 Case Administration ™
Conference w/GMK re scheduling issues —
9/21/2011 GMK 425,00 0.20 85.00 Billable
602 Case Administration VV
Exchange multiple e-mails w/client re: various administrative issues
9/21/2011 GMK 425.00 0.20 85.00 Billable
603 Cash Collateral
Exchange e-maits w/ W. Davis re: cash collateral issues
9/27/2011 GMK 425.00 0.30 127.50 Bilable
604 Cash Collateral
Multiple telephone calls w/M. Eisenberg re; new cash collateral budget
9/27/2011 GMK 425.00 0.30 127.50 Billable
605 Litigation & Motion Practice
Letter ta Alan Kleinman re: OTR Sign/locations, discovery in adversary
proceeding
9/27/2011 GMK 425.00 0.30 127.50 Billable
606 Case Administration
Telephone conierence w/Ari Noe re: misc. administrative issues, ID!
9/27/2011 GMK 425.00 0.20 85,00 Billabie
607 Professional Retention :
Telephone conference w/William Curtin re: retention issues
9/27/2011 GMK 425.00 0.20 85.00 Biltabie
608 Professional Retention
Telephone conference w/Ariel Holzer re: retention issues, OTR sign list
9/27/2011 GMK 425.00 0.20 85.00 Bilable
609 Litigation & Motion Practice ,
Receipt and review filed Holzer affirmation re opposition to City’s in
adversary proceeding
9/27/2011 GMK 425.00 1.50 637.50 Biltabte <="
Case 1-11-47385-ess Doc 78-4 Filed 12/30/11 Entered 12/30/11 12:58:45

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12/29/2011 Goetz Fitzpatrick, LLP
4:54 PM Pre-bill Worksheet Page 15
OTR Media Group, Inc.:OTR Media Group, Inc. (continued)
Date Timekeeper Rate Hours Amount Total
ID Task Markup % DNB Time ONB Amt
9/27/2011 GMK 425.00 0.20 85.00 Billabie
611 Cash Collateral
Telephone conference w/Sheila Claksen @ IRS re: adequate protection
payments
9/27/2011 GMK 425.60 0.70 297.50 Billable
612 Litigation & Motion Practice
Letter to Alan Kleinman re: discovery schedule and related | issues in
adversary proceeding
9/27/2011 GMK 425.00 0.50 212.50 Bilabie
613 Court Hearings
Prepare for hearings on 9/28/2011
9/27/2011 RDG 465.00 1.90 883.50 Billable
614 Court Hearings
Meetings w/G. Kushner regarding procedural, strategic and tactical issues,
9/28/2011 SS , 275.00 2.50 687.50 Billable
615 Court Hearings
Appear at EDNY Bankruptcy Court for initial debtor internéew and status
hearing
9/28/2011 GMK 425.00 2.50 1,062.50 Billable
MM 616 Court Hearings
Attendance at initial debtor intervew, status conference, cash collateral,
etc.
9/28/2011 RDC 465.00 0.50 232.50 Billable
617 Court Hearings
Emails with H. Crystal regarding attendance at hearing.
10/3/2011 SS 275.00 0.30 82.50 ' Billable
\ 636 Professional Retention
Telephone conference w/Scott Lewis re: motion to retain professionals;
revisions to motion te retain professionals
10/3/2011 GMK . 425.00 0.20 85.00 Billable
\/ 637 Case Administration .
Conference w/R. Coleman re: status update .
10/3/2011 RDC 465.00 0.30 139.50 Billable

638 Litigation & Motion Practice
Email w/B. Horan regarding deadline te file answer. Discussion with G.
Kushner
Case 1-11-47385-ess Doc 78-4 Filed 12/30/11 Entered 12/30/11 12:58:45

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647 Litigation & Motion Practice
Letter to B. Horan re: objection to form of motion to vacate TRO

12/29/2011 Goetz Fitzpatrick, LLP
1:54 PM Pre-bill Worksheet Page 16
OTR Media Group, Inc.:OTR Media Group, Inc. (continued)
Date Timekeeper Rate Hours Amount Total
ID Task . Markup % DNB Time DNB Amt
10/3/2011 3S 275.00 2.50 687.50 Billable |
854 Research
Research authority re: purported conflict of interest in GF representing both
debtor and indemnified landiords whe may later become creditors
10/3/2011 8S . 275.00 1.50 412.50 Billable ¢
855 Research
Draft memo to G. Kushner re: professionals’ conflict of interest
10/4/2011 SS 275.00 2.00 550.00 Billable
639 Professional Retention
Draft notice of motion, motion, and proposed order authorizing retention of
GF as debtor's chapter 11 counsel
10/6/2011 GMK 425.00 0.26 85.00 Billable .
640 Case Administration V
Conference w/R. Coleman re: case strategy
10/6/2011. GMK 425.00 0.20 85.00 Billable \/
641 Case Administration
Exchange emails w/Ar Noe re case update
10/7/2011 GMK 425.00 0.20 85.00 Billable /
642 Case Administration
Telephone conference w/Arn Noe re; status update
10/7/2014 GMK 425.00 0.10 42.50 Billable Vf
643 Case Administration
Telephone conference w/A,. Holzer re: status update
10/10/2011 GMK 425.00 1.50 637.50 Billable \V
644 Professional Retention
Meeting w/ordinary course professionals re: retention issues
10/42/2011 GMK 425.00 0.50 212.50 Billable
645 Litigation & Motion Practice
Receipt and review City’s motion to vacate automatic stay/stipulation
10/13/2011 GMK 425.00 0.30 127.50 Billable
646 Business Operation
Telephone conference w/Evan Cowit @ Maiden Lane re: status of litigation
40/13/2011 GMK 425.00 0.50 212.50 Billable
Case 1-11-47385-ess Doc 78-4 Filed 12/30/11

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856 Litigation & Motion Practice
Conference w/R. Coleman re legal position/argument on confloict issue,
strategy development for response

12/29/2011 Goetz Fitzpatrick, LLP
1:54 PM Pre-bili Worksheet Page 17
OTR Media Group, Inc.:OTR Media Group, Inc. (continued)
Date Timekeeper Rate Hours Amount Total
iD Task Markup % DNB Time DNB Amt
10/13/2011 GMK 425.00 0.50 212.50 Billable
648 Litigation & Motion Practice
Letter io Kleinman re: automatic stay issues/defects in moton/scheduling
10/17/2011 GMK 425.00 0.26 85.00 Billable V/
649 Litigation & Motion Practice
Multiple email exchanges w/R. Coleman re: City issues
10/17/2011 RDC 465.00 0.20 93.00 Biliable
650 Litigation & Motion Practice
Discussion with G. Kushner regarding and attention to issue of landlord
corrsepondence confirming retention for indemnification
10/18/2011 GMK 425.00 0.50 212,50 Billable R
651 Professional Retention
Receipt and revew misc. objections to retention application
10/18/2011 GMK 425.00 0.50 — 212.50 Billable
652 Professional Retention K
Multiple emails and telephone conferences w/Ron Coleman re: objection to
GF retention
10/18/2011 RDC 465.00 0.89 372.00 Billabla
653 Professional Retention _
Communications w/City counsel regarding City's position on conflict of
interest in the respective cases. Discussion re: the same with G. Kushner
10/19/2011 GMK 425.00 0.20 85.00 Bitlable
654 Professional Retention
Telephone conference w/USt on resolving retention objection
40/19/2011 GMK 425.00 1.50 637.50 Billable QR
655 Litigation & Motion Practice
Prepare draft of opposition to obiections to retention application
10/19/2041 RDC 465.00 1.50 697.50 Billable
656 Litigation & Motion Practice &
Prepared and filed status report in companion case regarding City's
inconsistent positions regarding confiict of interest.
10/19/2011 GMK 425.00 1,00 425.00

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Case 1-11-47385-ess Doc 78-4 Filed 12/30/11 Entered 12/30/11 12:58:45

 

12/29/2011 Goetz Fitzpatrick, LLP
1:54 PM Pre-bill Worksheet Page 18
OTR Media Group, inc.:OTR Media Group, Inc. (continued)
Date Timekeeper , Rate Hours Amount Total
ID Task Markup % DNB Time DNB Amt
10/19/2011 RDC 465.00 4.00 465.00 Billable
857 Litigation & Motion Practice
Conference w/GMK re legal position/argument on conflict issue, strategy
development for response
10/20/2011 GMK - 425.00 2.00 850.00 Billable
657 Litigation & Motion Practice
Prepare draft of oppasition to City's motion to vacate stipulation and
order/TRO
10/20/2011 GMK 425.00 4.50 - 1,912.50 Bilable
658 Litigation & Motion Practice
Continue to work on objection to City's motion re vacate TRO
10/20/2011 GMK 425.00 0.30 127.50 Billable
659 Cash Collateral
Telephone conference w/Wayne Davis re; OTR/cash collateral issues
10/21/2011 GMK 425.00 . 0.20 85.00 Billable
660 Cash Collateral
Telephone conference w/Sheila Olaksen re: status on cash collateral
payments
10/23/2011 RBC 465.00 2.40 1,116.00 Billable
661 Litigation & Motion Practice
Reviewed and revised draft OTR submission in opposition to City's motion
to vacate the stay.
10/24/2011 SS 275.00 . 1.40 385,00 Billable
662 Research
Research authority re: attorney with potential conflict of interest can
withdraw from one representation to eliminate conflict
10/24/2011 RDC 465.00 0.40 186.00 Billable
663 Litigation & Motion Practice
Reviewed City's reply submission in support of motion to vacate.
Discussed same w/G, Kushner
10/24/2011 GMK 425.00 0.40 170,00 Billable
664 Litigation & Motion Practice
Receipt and revew R. Coleman's edit to opposition to City's application
10/24/2011 GMK . 425.00 0.36 127.50 Billable

665 Litigation & Motion Practice
Prepare final revisions and file opposition to City's motion to vacate THO
Case 1-11-47385-ess Doc 78-4 Filed 12/30/11

Entered 12/30/11 12:58:45

 

676 Court Hearings
Email exchange w/A. Kleinman re: follow up to matters discussed during
hearing

12/29/2011 Goetz Fitzpatrick, LLP
Pre-bill Worksheet Page 19
OTR Media Group, Inc.:OTR Media Group, Inc. (continued)
Timekeeper Rate Hours Amount Total
Task Markup % DNB Time DNB Amt
10/24/2011 GMK 425.00 0.10 42.50 Billabie
666 Litigation & Motion Practice
Exchange emails w/R. Coleman re status of filing response to Citty's
_motion to vacate TRO
10/24/2011 GMK 425.00 0.10 42.50 Billabl
667 Professional Retention Ky
Telephone conference w/UST re resolution of retention objection
10/24/2011 GMK 425.00 1.00 425.00 Bite
668 Litigation & Motion Practice
Finalize response to objection retention application
10/24/2011 GMK 425.00 0.50 212.50 Billable
669 Claims Objection
Telephone conference w/counsel for Covenant House re payment of
rent/assumption of lease
10/24/2011 GMK 425.00 0.20 85.00 Billable
670 Case Administration
Telephone conference w/Mr. Kim ra: 347 hearing
10/24/2011 GMK 425.00 0.20 85.06 Billable
671 Case Administration
Telephone conference w/Isaac Kurtz re: 341 hearing issues
10/24/2011 GMK 425.00 0.20 85.00 Biliable {x
672 Research \
Review case law on disqualification as counse!
40/24/2011 GMK 425,00 0,20 85.00 Billable «,
673 Research
Latter to W. Curtin re: w/enclosure of decision on disqualification
~ 10/25/2014 RDC 465.00 0.40 186.00 Billable vT
674 Case Administration on
Met with G. Kushner regarding retention, tactical and litigation-task issues
ey
40/25/2011 GMK 425.00 0.50 212,50 Billable j\-
. 675 Case Administration
Conference w/R. Coleman re: status update
10/25/2011 GMK 425.00 0.20 85.00 Billable
Case 1-11-47385-ess Doc78-4 Filed 12/30/11 Entered 12/30/11 12:58:45

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687 Claims Objection

Telephone conference w/Morvello re: case strategy issues/payment of tax
claim

12/29/2011 Goetz Fitzpatrick, LLP
1:54 PM Pre-bill Worksheet Page 20
OTR Media Group, Inc.:OTR Media Group, inc. (continued)
Date Timekeeper Rate Hours Amount Total
ID Task Markup % DNB Time DNB Amt
10/25/2011 GMK 425.00 4,50 637.50 Billable
677 Court Hearings ,
Prepare for Court hearing on misc. motions/abjections, status
10/25/2011 GMK 425.00 6.00 2,550.00 Bitlable
678 Court Hearings
Attendance at Court hearing on OTR/adversary proceeding motion
10/25/2011 GMK 425.06 0.20 85,00 Billable
679 Professional Retention
Prepared amended modified retention order
10/26/2011 GMK 425.00 0.30 127.50 Billable
680 Case Administration
Receipt anc review operating report, exchange e-mails w/M. Eisenberg re:
corrections
10/26/2011 GMK 425.00 0.20 85.00 Billable
681 Case Administration
Letter to william Curtin w/énclosure of deficient operating report
10/26/2011 GMK , 425.00 1.50 637.50 Bilabie
682 Court Hearings
Conference w/Ari Noe to prepare witness for section 344 hearing
10/26/2011 GMK 425.00 0.50 212.50 Billable |
683 Court Hearings
Prepare for section 341 hearing
10/26/2011 GMK 425,00 2.50 1,062.50 Billable
684 Court Hearings
Attendance at section 341 hearing
10/26/2011 GMK 425.00 0.50 212.50 Billable
685 Court Hearings ,
Conference w/Ari Noe and M. Eisenberg re: 341 hearing issues
10/27/2014 GMK 425,00 0.50 212.50 Billable
686 DP
Draft letter toIRS re subpoena of documents
10/27/2011 GMK 425.00 . 0.20 85.00 Billabie
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Case 1-11-47385-ess Doc 78-4 Filed 12/30/11 Entered 12/30/11 12:58:45

 

12/29/2011 Goetz Fitzpatrick, LLP
1:54 PM Pre-bill Worksheet Page ai
OTR Media Group, Inc.:OTR Mecia Group, inc. (continued)
Date Timekeeper Rate Hours Amaunt Total
ID Task Markup % DNB Time DNB Amt
10/27/2011 GMK 425.00 0.30 127.50 Billabie
688 Professional Retention
Revise retention order per comments of W. Davis
10/27/2011 GMK 425,00 0.20 85.00 Billable
689 Litigation & Motion Practice
Exchange emails w/City’s counsel regarding stay of proceedings
16/27/2011 GMK 425.00 0.20 85.00 Billable
690 Cash Collateral
Telephone conferendce w/Wayne Davis re: cash collateral issues
10/28/2011 GMK 425.00 0.30 127.50 Billable
691 Asset Disposition
Conference w/Manello and Ed Birnbaum re: status of sale of leases
10/28/2011 GMK 425.00 0.20 85.00 Billable
692 Professional Retention
Review emails re: comments to revised order on retention
10/29/2011 GMK 425,00 0.50 212.50 Billable
693 Research
Receipt and review City's position of the law re: policies/regulatery power
10/31/2011 SS . 275.00 0.30 82.50 Billabla
708 Litigation & Motion Practice
Conference w/G. Kushner re: city's itent to file motion to fit stay as to
requiatary enforcement
10/31/2011 GMK 425.00 0.30 127.50 Billable
716 Research
Conference w/s. Simon re: research on exception to lift stay/police and
regulatory exceptions
10/31/2011 GMK 425.00 0.20 85.00 Billable
71? Litigation & Motion Practice
Receipt and revew email from A. Kleinman re: summary of sign volations
10/31/2011 GMK 425.00 6.30 127.50 Billable
726 Reasearch
Conference w/S. Simon re: research on exception to lift stay/police and
regulatory exception
11/1/2011 SS 275,00 3.00 825.00 Billable

718 Research
Research authority re sign regulation as exercise of City’s police powers;
research authority re police power exception to automatic stay
Case 1-11-47385-ess Doc 78-4 Filed 12/30/11 Entered 12/30/11 12:58:45

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73? Litigation & Motion Practice
Conference w/R. Coleman re: response to NYC/status update

12/29/2014 Goetz Fitzpatrick, LLP
1:54 PM Pre-bill Worksheet Page 22
OTR Media Group, inc.:OTR Media Group, Inc. (continued)
Date Timekeeper Rate Hours Amount Total
Task Markup % DNB Time DNB Amt
41/4/2011 GMK 425.00 0.50 212.50 Billable
728 Cash Collateral
Telephone conference w/M. Eisenberg re: budget and cash collateral
issues
11/1/2011 GMK 425.00 0.20 85,00 Bilable
729. Case Administration
Exchange emails w/M. Eisenberg re: misc. administrative issues
41/1/2011 GMK 425.00 0.10 42.50 Billable
730 Professional Retention
Multiple emails w/OTR public relations/Ken
11/4/2011 GMK 425.00 0.50 272.50 Billable
731 Research
Review research on sign regulations from S. Simon
11/1/2011 GMK 425.00 0.20 85.06 Biilabie
732 Claims Objection
Telephone conference w/J. Temkin re: open tax issues
14/1/2011 GMK 425.00 0.20 85.00 Billabie
733 Claims Objection
Telephone conlerence w/A. Noe re: open tax issues
11/4/2011 SS 275,00 2.00 550.00 Billable
858 Research
Drait memo to GMK and RDC re police power exception to automatic stay
11/2/2011 SS 275.00 1.80 495.00 Billable
734 Rasearch
Telephone conversation with Ariel Holzer re: ECB Violations; further
research re public health exception to automatic stay
11/2/2011 GMK 425.00 1.50 637.50 Billable
735 Litigation & Motion Practice
Review draft memorandum on automatic stay issue
11/2/2011 GMK 425.00. 0.20 85.00 Biffable
736 Research
Conference w/Scott Simon on additional research needed for oppasition to
City's motion
11/2/2011 GMK 425.00 0.20 85.00 Billable
Case 1-11-47385-ess Doc 78-4 Filed 12/30/11 Entered 12/30/11 12:58:45

 

42/29/2011 Goetz Fitzpatrick, LLP
1:54 PM Pre-bill Worksheet Page 23
OTR Media Group, Inc.:OTR Media Group, Inc. (continued)
Date Timekeeper Rate Hours Amount Total
iD Task Markup % DNB Time ONB Ami
11/2/2011 GMK 425.00 0.30 127.50 Billable
738 Case Administration
Telephone conference w/Eileen Zimmerman @ Crains re: publicity article
11/2/2011 GMK , 425,00 0.20 85.00 Billable —
739 Business Operation
Telephone conference w/One Maiden Lane counsel re: status of adversary
proceeding
11/2/2011 GMK 425.00 0.20 85.00 Billable
740 Business Operation
Telephone conference w/Rob Maka @ One Maiden Lane re: status update
11/2/2011 GMK 425.00 1,00 425.00 Billable
741 Case Administration
Prepare draft of status memorandum to Ari Noe
11/3/2011 SS 275.00 2.00 550.00 Billable
742 Research
Further research re cases cited in City's brief re: police power
11/3/2011 GMK 425.00 0.10 42.50 Billable
743 Case Administration ,
Exchange e-mails w/B. Horan re: scheduling
11/3/2011 GMK 425.00 0.70 297.50 Billable
744 Business Operation
Telephone conference w/Scott Simon and Lindsay Galloway re:
status/nature of ECB hearings .
11/3/2011 GMK 425,00 1.00 425.00 Billable
745 Research
Continue research, development of legal argument responsive to City
11/3/2011 GMK 425,00 0.20 85.00 Billable
746 Litigation & Motion Practice
Conference w/Ronaid Coleman re submission to City/plaintifi/flandlord
issues
11/3/2011 GMK 425.00 0.10 42.50 Billable
747 Case Administration
Telephone conference w/B. Horan re: scheduling
11/3/2011 $S 275,00 0.50 137.50 Billable

859 Litigation & Motion Practice
Telephons conference w/OTR's violations counsel re difference between
ECB and OATH properties
Case 1-11-47385-ess Doc 78-4 Filed 12/30/11 Entered 12/30/11 12:58:45

 

756 Litigation & Motion Practice
Exchange e-mails w/A. Kleinman re: automatic stay issue

12/29/2011 Goetz Fitzpatrick, LLP
1:54 PM Pre-biii Worksheet Page 24
OTR Media Group, inc.:OTR Media Group, Inc. (continued)
Date Timekeeper Rate Hours Amount Total
Task Markup % DNB Time ONB Amt
11/3/2011 SS 275.00 1,00 275.00 Billable
860 Litigation & Motion Practice
Draft letter brief ta City re police power
11/4/2011 HH 125.00 3.20 400.00 Bilabie
748 DP ,
Assisted R. Coeman in searching file and revewing correspondence ta
document and verify transmission of chapter 11 information and filings to
R. Coleman per City’s request
11/4/2011 GMK - 425.00 0.10 42.50 -Billable
749 Professional Retention
Email exchange w/C. Harris re: status update on retention
11/4/2011 GMK 425.00 0.10 42.50 Billable
750 Litigation & Motion Practice
Exchange emails w/Howard Crystal re: Yung litigation
11/5/2011 GMK 425.08 0.10 42.50 Billable
751 Case Administration
‘Email exchange w/PR representative re: Crains article, commentary
11/7/2011 SS : 275.00 0.20 55.00 Billable
752 Litigation & Motion Practice
Telephone conference w/L. Garroway re: status of four signs OTR is
operating with open ECB violations
11/7/2011 GMK 425.00 0.30 127.50 Billable
753 Litigation & Motion Practice
Finalize letter to Alan Kleinman re respanse to City's position on automatic
stay/palice power exception
41/7/2011 GMK 425.00 0.30 127.50 Billable
754 Litigation & Motion Practice
Telephone conference w/A, Kleinman re settlement of automatic stay
motion
41/7/2011 GMK 425.00. 0.30 127.50 Biliable
755 Litigation & Motion Practice
Telephone conference w/A. Kleinman and B. Horan re: resolution of
automatic stay issue
11/7/2011 GMK . 425.00 0.30 127.50 Billable

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Case 1-11-47385-ess Doc 78-4 Filed 12/30/11 Entered 12/80/11 12:58:45

 

12/29/2011 Goetz Fitzpatrick, LLP
1:54 PM Pre-bill Worksheet Page 25
OTR Media Group, Inc.:OTR Media Group, Inc. (continued)
Date Timekeeper , Rate Hours Amount Total
ID Task _ Markup % DNB Time DNB Amt
11/7/2011 GMK 425.00 0.20 85.00 Billable
757 Plan & Disclosure
Telephone conierence w/ A. Noe re: chapter 11 exit strategy
11/7/2011 GMK 425.00 0.50 212.50 Bitlable
758 Litigation & Motion Practice
Conferencing w/Scott Simon re: response to City on automatic stay issues
11/7/2011 GMK 425,00 0.49 176.00 Bilable
\ 759 Professional Retention
Multiple emails w/Howard Crystal re: retention issues, 6th Avenue appeal
14/7/2011 GMK 425.00 0.20 85.00 Billable
760 Professional Retention
Telephone conference w/H, Crystal to resolve retention issue
14/7/2011 GMK 425.00 0.20 85,00 Billable
761 Litigation & Motion Practice
Email exchanges w/A. Kleinman re: automatic stay issues
11/7/2011 GMK 425.00 0.10 42,50 Billable
762 Business Operation :
Email exchanges w/Robert Hochman re: various ECB hearing issues
11/7/2011 SS 275.00 0.90 247.56 Billable
861 Litigation & Motion Practice
Revisions to Kleinman latter
11/8/2011 ABC 465.00 0.60 279.00 Billable
763 Litigation & Motion Practice
Emails WA. Noe, G. Kushner. Discussed tactical and litigation issues
w/G, Kushner
11/8/2011 GMK 425.00 1.50 637.50 Billable
764 Litigation & Motion Practice , ,
Conference call wiAri Noe, Michael Eisenberg and Ed Birnbaum re
plan/exit strategy from chapter 11
11/8/2011 GMK 425.00 0.10 42.50 Billable
765 Professional Retention
Email exchanged w/A. Holzer re: status on retention
11/8/2011 GMK 425.00 0.10 42.50 Billable

766 Case Administration
Email exchanges w/Ari Noe re: Crains article
Case 1-11-47385-ess Doc 78-4 Filed 12/30/11

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12/29/2011 Goetz Fitzpatrick, LLP
1:54 PM Pre-bill Worksheet Page 26
OTR Media Group, Inc.:OTR Media Group, Inc. (continued)
Date Timekeeper Rate Hours Amount Total
IG Task Markup % DNB Time DNB Amt
11/8/2011 GMK 425.00 0.20 85.00 Bilable
767 Cash Collateral
Email exchanges w/W. Davis re: use of cash collateral
11/8/2011 GMK 425.00 0.70 42,50 Billabie
768 Case Administration
Email w/m. Eisenberg re: misc. administrative issues
11/9/2011 GMK 425.00 0.20 85.00 Billable
769 DP
Telephone conference w/Ari Noe and M. Eisenberg re: approval of bank
documents and cash collateral issues
44/9/2011 GMK 425.00 0.50 212.50 Bilable
770 Litigation & Motion Practice
Telephone conference w/H. Crystal ra: Yung Bros. appeal issues -
11/9/2011 GMK 425.00 0.50 212.50 Billable
771 Litigation & Motion Practice
Drait affirmation for extension of time to file reply brief in Yung appeal
11/9/2011 GMK 425.00 0.50 212.50 Billable
(772 Litigation & Motion Practice
Telephone conierence w/Hita Durmain re: Yung apoeal issues
11/9/2011 GMK 425.00 0.20 85.00 Billable
773 Litigation & Motion Practice
Multiple telephone conferences w/H. Crystai re: Yung appeal
11/9/2011 GMK 425.00 0.10 42.50 Billable
774 Claims Objection
Telephone conferance wid. Vann re: landiard claim
41/9/2011 GMK 425.00 0.20 85.00 Billable
77§ Professional Retention
Exchanges of emails w/Carolyn Harris re: retention
\/ 11/9/2011 GMK 425.00 0.50 212.50 Billable
. 776 File Maintenance
File maintenance
14/9/2011 GMK 425.00 0.20 85.00 Billable

777 Litigation & Motion Practice
Exchange emails w/H. Crystal re; Yung Bros. litigation with NYC
Case 1-11-47385-ess Doc 78-4 Filed 12/30/11 Entered 12/30/11 12:58:45

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12/29/2014 Goetz Fitzpatrick, LLP
1:54 PM Pre-bilf Worksheet Page 27
OTR Media Group, Inc..OTR Media Group, Inc. (continued)
Date Timekeeper Rate Hours Amount Total
ID Task Markup % DNB Time DNB Amt
14/10/2011 RDC 465.00 3.50 1,627.50 Bilable
778 Court Hearings
Prepared for, traveled to and appeared in Appellate Division to secure
adjournment of Yung appeal in First Department.
41/10/2011 GMK 425.00 0.10 42.50 Billable
779 Cash Collateral
Reviewed Budget/November/for cash collateral request
11/10/2011 GMK 425.00 0.20 85.00 Billable
780 Cash Collateral
Misc. telephone conferences w/Ari Noe re Metropolitan Bank issues
11/10/2011 GMK 425.00 0.50 212.50 Billable
78t Litigation & Motion Practice
Receipt and review City's motion for stay relief
11/10/2011 GMK 425.00 0.20 85,00 Billable
782 DP
Conference w/Ron Coleman re Follow up w/Gity's requests for landlord
disclosures
11/40/2011 RBC 465.00 0.40 186.06 Billable
862 Litigation & Motion Practice
Prepared correspondence to Corporation counsel regarding notice gtiven to
landiord plaintiffs in adversary proceeding
11/10/2011 ROC 465.00 0.50 232,50 Billable
863 Litigation & Motion Practice
Reviewed incoming motion by City seeking declaratory judgment
permitting ECB proceedings during pendency of chapter 11 reorganization
and corresponded with OTA legal team regarding assignments
11/11/2011 SS 275.00 0.80 220.00 Billable .
783 Litigation & Motion Practice
Review and analyze City’s motion to avoid automatic stay for enforcernent
of ECB proceedings
11/14/2011 GMK 425.00 0.40 170.00 Billable
784 Litigation & Motion Practice
Multiple emails exchanges w/client, Ren Colernan re: response
development/City's lift stay motion
11/11/2011 GMK 425.00 0.50 212.50 Bitlabie

7&5 Litigation & Motion Practice
Extensive review of City’s motion for stay relief
Case 1-11-47385-ess Doc 78-4 Filed 12/30/11 Entered 12/30/11 12:58:45

 

12/29/2011 Goeiz Fitzpatrick, LLP
1:54 PM Pre-bill Worksheet Page 28
OTR Media Group, Inc.:;OTR Media Group, inc. (continued)
Date Timekeeper Rate Hours Amount. Total
iD Task Markup % DNB Time DNB Amt
14/11/2011 GMK 425,00 0.50 212.50 Billable
786 Research
Multiple conferences w/S. Simon re project assignment/responses to
City’s motion
11/14/2011 GMK 425.00 0.10 42.50 Billable
78/7 Cash Collatera!
Exchange emails w/ W. Davis re cash collateral issues
41/14/2011 GMK 425.00 0.40 170.00 Billable
788 Professional Retention
Review, edit proposed motion for retention of ordinary course professionals
11/14/2011 GMK - 425.00 0.50 212,50 Billable
789 Litigation & Motion Practice
Various comespondences w/Ron Coleman re: strategy for reply to City's it
stay motion
11/14/2011 GMK 425.00 0.50 212.50 Billable
790 Research
Review City's memorandum and supporting case law re: automatic stay |
exception
11/ 14/2011 GMK 425.00 0.20 85.00 Billable
791 Litigation & Motion Practice
Exchange emails w/Bartflald firm re: adjournment of ECB hearings
11/15/2011 SS 275.00 2,50 687.50 Billable i —
792 Litigation & Motion Practice T
Conference w/G. Kushner, R. Coleman and clients re strategy for opposing je
City's motion to lift stay
11/15/2011 GMK 425.00 2,00 850.00 Billable
793 Litigation & Motion Practice
Prepare draft of motion to extend exclusivity
11/45/2011 GMK 425,00 2.00 850.00 Billable
794 Litigation & Motion Practice
Prepare craft of motion to extend time to assume or reject leases
11/15/2011 GMK 425.00 1.00 425.00 Billabie
795 Litigation & Motion Practice
Prepare for meeting w/client on apposition strategy to City's motion
11/15/2011 GMK , 425.00 2.50 1,062.50 Billable

796 Litigation & Motion Practice

Conference w/client and Ariel Holzer, S. Simon and R. Coleman to discuss

response to City’s motion for stay relief

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Case 1-11-47385-ess Doc78-4 Filed 12/30/11 Entered 12/30/11 12:58:45

 

865 Litigation & Motion Practice
Telephone conference with Maurice Silverstein re: motion strategy

12/29/2611 Goetz Fitzpatrick, LLP
1:54 PM Pre-bill Worksheet Page 29
OTR Media Group, inc.:OTR Media Group, Inc. (continued)
Date Timekeeper Rate Hours Amount Total
ID Task Markup % PNB Time DNB Art
11/16/2011 RBC 465.00 0.50 232.50 Billable
Fr 797 Litigation & Motion Practice
Emails and telephone discussions with A. Noe, A. Holzer regarding
opposition to City’s motion.
11/15/2011 GMK 425.00 0.10 42,50 Billable
798 Professional Retention
Telephone conference w/W. Davis to discuss GF retention order
11/18/2011 GMK 425.00 0.10 42.50 Billable
799 Professional Retention
Finalize GF retention order
11/15/2011 GMK 425.00 0.20 85.00 Billable
800 Litigation & Motion Practice
Multiple telephone conferences w/BSartfield re; ECB acjournments
11/15/2011 SS 275.00 2.50 687.50 Bitable
864 Research
Research and draft opposition to City's motion to avoid automatic stay
11/15/2011 RDC 465.00 1.50 697.50 Billable
7 869 Litigation & Motion Practice
Meeting w/clients, GMK and S. Simon to discuss legal issues reaised in
—_ City's motion to vacate automatic stay, develop response
11/16/2011 SS 275.00 2,00 550.00 ‘Billable
801 Litigation & Motion Practice ,
Revisions to opposition to City's motion
11/16/2011 GMK 425.00 1.50 637.50 Billable
802 Litigation & Motion Practice
Review, adit first draft of Debtor's response to City's motion to vacate stay
11/16/2011 GMK 425.00 0.30 127.50 Billable
803 Litigation & Motion Practice
Telephone conference w/J. Bartfield and Ari Noe re: misc. status on state
court litigation
11/16/2011 GMK 425.00 0.20 85.00 Billable
804 Claims Objection
Telephone conference w/Covenant House counsel re: rent payment
11/16/2011 SS 275.00 0.60 165.00 Billable
Case 1-11-47385-ess Doc 78-4 Filed 12/30/11 Entered 12/30/11 12:58:45

 

812 Litigation & Motion Practice

' Correspondence with A. Holzer re affirmation in opposition to City’ Ss motion
to lift stay; revisions to Memorandum of Law, Holzer Affidavit and OTR's
opposition

12/29/2011 Goetz Fitzpatrick, LLP
1:54 PM _ Pre-bill Worksheet Page 30
OTR Media Group, Inc.:OTR Media Group, inc. (continued)
Date Timekeeper Rate Hours Amount Total
iD Task Markup % DNB Time DNB Amt
41/16/2011 SS 275.00 1.50 412.50 Bitlable
866 Litigation & Motion Practice
Research re Sonnax factors for discretionary relief of stay
1116/2011 SS 275.00 0.50 137.50 Billable
867 Litigation & Motion Practice
Conference w/GMK re opposition to City's motion
11/17/2014 ROC 465.00 0.50 232,50 Biliable
805 Professional Retention
Met with G. Kushner regarding progress of professionals retention issues.
Discussed.samea with A. Holzer
11/18/2011 SS 275.00 3.60 990.00 Billable
806 Litigation & Motion Practice
Revisions to A. Holzer affirmation; revisions to opposition memorandum of
law
11/48/2011 RDC 465.00 3.20 1,488.00 Bilable
' 807 Litigation & Motion Practice
Reviewed and revised A. Holzer declaration re appesition to City's
mation/automatic stay exception
11/18/2011 GMK 425.00 0.20 85.00 Billable
808 Professional Retention
Telephone conference w/W. Davis re: filing of wrong retention order for
Goetz
11/18/2011 GMK 425,00 2,50 1,062.50 Biliable
809 Litigation & Motion Practice
Work on opposition to City's motion
11/18/2011 GMK 425.00 0.20 85.00 Billable
810 Professionai Retention
Telephone conference w/Wayne Davis re retention order discrepancy
41/18/2011 GMK 425.00 — 0.56 212.50 Billable
811 Litigation & Motion Practice ,
Receipt and review draft of Ariel Holzer affirmation in opposition to City's
mation
14/21/2011 SS 275.00 5.00 1,375.00 Billable
Case 1-11-47385-ess Doc 78-4 Filed 12/30/11 Entered 12/30/11 12:58:45

 

823 Litigation & Motion Practice
Finalize exclusivty motion

12/29/2011 Goetz Fitzpatrick, LLP
1:54 PM Pre-bill Worksheet Page 31
OTR Media Group, inc.:OTR Media Group, Inc. (continued)
Date Timekeeper Rate Hours Amount Totai
ID Task Markup % DNB Time DNB: Amt
11/21/2011 RDC 465.00 4,00 1,860.06 Bittabie
813 Research
Revised memorandum of law in opposition to City motion for reef from
stay and related research,
11/21/2011 GMK 425.00 0.20 85,00 Bitlable
814 Cash Collateral
Receipt and review e-mail from W. Davis re: cash collateral issues
11/21/2011 GMK 425.00 0.20 85.00 Billabie
815 Cash Collateral
Telephone conference w/Wayne Davis re: cash collateral issues
11/21/2011 GMK 425.00 8.00 3,400.00 Bilable
816 Litigation & Motion Practice
Continue edits, finalize memorandum of law and opposition to City's
motion for relief from the automatic stay
11/22/2011 SS 275.00 0.50 137.56 Billabie
817 Litigation & Motion Practice
Revisions to Hoizer affirmation; correspondence. with A. Holzer ra exhibits
11/23/2011 RDC 465.00 0.40 186.00 Bilable
818 Professional Retention
Coordination with OTR management regarding ordinary course professional
retention motion and monthly operating reports
11/28/2011 GMK 425.00 0.50 212.50 Billable
819 Litigation & Motion Practice
Review NYC's reply re: motion for relief from automatic stay
11/28/2011 GMK 425.00 0.56 212.50 Billable
820 Court Hearings .
Review additional pleadings re preparation for hearing on relief fram
automatic stay motion
11/28/2011 GMK 425.00 0.30 127.50 Billable
821 Cash Collateral
Revise cash collateral stipulation
11/28/2011 GMK 425.00 0.50 . 212.50 - Billable
822 Litigation & Motion Practice
Finalize lease assumption/rejection motion
41/28/2011 GMK 425.00 0.50 212.50 Billabie
Case 1-11-47385-ess Doc 78-4 Filed 12/30/17

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12/29/2011 Goetz Fitzpatrick, LLP
1:54 PM Pre-bill Worksheet Page a2
OTR Media Group, Inc.:OTR Media Group, inc. (continued)
Date Timekeeper Rate Hours Amount Total
ID Task Markup % DNB Time DNB Amt
11/28/2011 GMK 425.00 0.30 127.50 Billable
824 Cash Collateral
Multiple telephone calls w/Michael Eisenberg re: budget and operating
reports , ,
11/28/2011 RDC 465.00 0.30 139.50 Billable
825 Professional Retention
Discussions with OTR tine regarding ordinary course professional
retention motion and monthly operating reports
11/28/2011 GMK 425.00 1.50 637.50 Billable
870 Court Hearings
General preparation for 11/29/2011 calendar/misc. motions
11/29/2011 SS 275.00 1,00 275.00 Billable
826 Court Hearings
: Conference w/R. Coleman, G. Kushner and A. Holzer re hearing on City's
motion to lift stay.
~ 14/29/2011 SS 275.00 3.50 962.50 Billable
, 868 Court Hearings
- Appear at EDNY Bankruptcy Court for hearing on City's motion to lift stay
/\ 11/29/2011 GMK 425.00 1.00 425.00 Billable
! 871 Court Hearings
Meeting w/Ariel Holzer to coordinate responsibilities for Court hearings
17/29/2011 GMK 425.00 3.50 1,487.50 Billable
$72 Court Hearings
Attendance at Court hearing re City’s motion, cash collateral, retention of
GF
TOTAL Billable Fees 288.70 $114,994.00
Date Timekeeper Price Quantity Amount Total
IB Expense Markup %
8/30/2011 GMK 27,57 1.000 27.57 Billable
620 Meal
Meal - R. Coleman
8/31/2011 RDC 349,21 1,000 349.21 Billable

621 Westlaw
Wesilaw (legal research)
Case 1-11 -47385-ess Doc 78-4 Filed 12/30/11 Entered 12/30/11 12:58:45

12/29/2011 Goetz Fitzpatrick, LLP
1:54 PM Pre-bill Worksheet

OTR Media Group, Inc.:OTR Media Group, Inc. {continued}

Date Timekeeper Price
ID Expense Markup %
8/31/2011 SS 123.56
622 Westlaw
Westlaw - legal resarch

9/1/2011 RG 8.27
623 Federal Express
Federal Express

9/1/2011 RAG 10.64
624 Federal Exprass
Federal Express

91/2011 RG 8.80
625 Federal Express
Federal Express

9/1/2011 RG . . 13.05
626 FederalExpress
Federal Express

9/1/2011 AG 19.27
627 Federal Express
Federal Express

9/1/2011 GMK 250,00
827 Filing Fees
Filing Fee for Adversary Proceeding

9/6/2011 AG 8.84
628 Federal Express
Federal Express

9/8/2011 RG 11.56
629 Federal Express
Feceral Express

9/9/2011 RG 7,46
630 Federal Express
Federal Express

9/12/2011 GMK . 487.25
828 Compu-Scribe, Inc.
Transcript

9/13/2041 RG 7.46
631 Federal Express
Federal Express

Quantity

4.000

14.000

5.000

1.000

2.000

1.000

1,000

1.000

71.000

1.000

1.000

Amount

123.56

115.78

53.20

8.80

26.10

19.27
960.00
8.84
11.56
7.46
487.25

7.46

Page 33

Total

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Case 1-11-47385-ess Doc 78-4 Filed 12/30/11

12/29/201 t Goetz Fitzpatrick, LLP
1:54 PM Pre-bill Worksheet

OTR Media Group, Inc.:OTR Media Group, Inc. (continued)

Date Timekeeper
ID Expense
9/16/2011 RG
632 Overtime
Rebecca Greene worked Overtime

9/23/2011 RG
633 Overtime
Rebecca Greene worked Overtime

9/28/2011 SS
634 Travel
Travel - S. Simon

9/30/2011 RDC
635 Westlaw
Westlaw - legal research

10/5/2011 GMK
829 Federal Express |
Federal Express

10/24/2011 GMK
830 Federal Express
Federal Express

10/31/2011 SS
831 Westlaw
Westlaw (legal research)

11/16/2011 RG
832 Federal Express
Federal Express

11/22/2011 RG
833 Federal Express
Federal Express

11/28/2011 GMK
834 Messenger Senice
Supreme Systems, Inc. - Messenger Senice

11/29/2011 GMK
835 Postage
Postage - Mass mailing

11/29/2011 SDS
836 Travel
Travet

Price
Markup %
123.64

185.46

4.50

211.63

8.76

8.76

362.52

8.72

4.72

53.30

et2.44

4,50

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Quantity

1.000

1.000

7.000

7.000

2,000

1.000

1.000

1,000

1.000

1.000

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Amount

123.64

185.46

4,50

211.63

17.82

8.76

382.52

8.72

8.72

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Page 34

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Case 1-11-47385-ess

Doc 78-4 Filed 12/30/11

Entered 12/30/11 12:58:45

 

 

 

 

 

12/29/2011 Goetz Fitzpatrick, LLP
1:54 PM Pre-biil Worksheet Page 35
OTR Media Group, Inc.:OTR Media Group, Inc. (continued)
Date Timekeeper Price Quantity Amount Total
Ip Expense Markup %

41/29/2011 RG 8.72 1.000 8.72 Billabla

837 Federal Express .
Federal Exoress
11/30/2011 SDS 1043.07 1.000 1,043.07 Billabie
838 Westlaw
Westlaw - legal research
TOTAL Billabla Costs $3,769.56
Calculation of Fees and Costs
Amount Total

Fees Bill Arrangement: Stips
By billing value on each siip.
Total cf billable time slips $114,994.00
Total of Fees (Time Charges) $114,994.00
Costs Bil Arrangement: Slips
By billing value on each slip.
Total of billable expense slips $3,769.56
Total of Costs (Expense Charges) $3,769.56
Total new charges $118,763.56
New Balance
Current $118,763.56

Total New Balance

$118,763.56

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